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                                          UNITED STATES BANKRUPTCY COURT
                                        FOR THE MIDDLE DISTRICT OF TENNESSEE

DEBTORS KEVIN WALTER LEONARD                                                                     Case No.   18-05071-RM3-13
        BRANDY MICHELLE LEONARD
            SSN XXX-XX- 1079 SSN XXX-XX- 8242
                  ORDER CONFIRMING CHAPTER 13 PLAN AND GRANTING RELATED MOTIONS

                                                   CONFIRMED WITH CHANGES

The Court finds that all information required under § 521(a)(1)(B) has been submitted and that the case is not dismissed under §
521(i). The Court further finds that it is in the best interests of creditors and the estate to confirm this case .
The debtors' plan has been transmitted to scheduled creditors and it has been determined after notice and an opportunity for
hearing that the plan meets the confirmation requirements of 11 U.S.C. § 1325 and all timely objections to confirmation have been
withdrawn, resolved, or overruled. It is, therefore, ORDERED:
    1. The plan is confirmed as set out below.
    2. A timely proof of claim must be filed before the creditor will be paid under the plan.
    3. The debtors shall not incur any debts without approval from the trustee or this Court , except debts necessary for
       emergency medical or hospital care.
    4. The debtors shall not reduce the amounts withheld for taxes on a W-4 submitted to an employer without approval of the
       trustee or the Court.

    5. The trustee shall deduct permitted compensation and expenses in accordance with 28 U.S.C. §586(e).

    6. Before making any disbursements to creditors under the plan, the trustee shall disburse to the Court Clerk the sum of
       $310.00 for filing fees.

    7. The debtors shall be responsible for the preservation and protection-including insurance-of all property of the estate .
    8. The trustee and the debtors retain the right to object to any claims or supplements to claims and to pursue any causes of
       action for the benefit of the debtors or the estate-including avoidance and recovery actions and actions that would upset
       the liens of creditors treated as secured under the confirmed plan.


PART 1:     NOTICES

    The confirmed plan DOES NOT include nonstandard provisions, set out in Part 9 below.
    This order is final and binding under 11 U.S.C. § 1327 upon entry of the order. This order may include provisions different

                                 Order Confirming Chapter 13 Plan and Granting Related Motions                         Page 1 of 9




           Case 3:18-bk-05071            Doc 29         Filed 10/22/18 Entered 10/22/18 16:54:20                    Desc Main
                                                        Document Page 1 of 9
Debtors       LEONARD                                                          Case number      18-05071-RM3-13


    than what was contained in the original plan. Parties are encouraged to carefully review the terms of this order and the
    previously noticed plan. Any request to reconsider the terms of this order should be raised within 14 days.
    An exhibit attached to this order lists the claims treated under this confirmed plan as of the submission of this order to the
    Court. This list is subject to modification based on the subsequent allowance or disallowance of claims .

PART 2:     PLAN PAYMENTS AND LENGTH OF PLAN

Debtors will make payments to the trustee as follows:

    $461.33 WEEKLY from KEVIN WALTER LEONARD

    The plan is expected to last approximately 60 months. The plan will not be complete unless the payments to creditors
    specified in this order have been made.

    Plan “base” and income tax refunds
    Debtors shall pay to the trustee a minimum amount, called a “base,” of $119,900.00.

    Any funds remaining from the base after making the other disbursements required by this order shall be used to increase the
    distribution to allowed nonpriority unsecured claims addressed in § 5.1.

PART 3:     TREATMENT OF SECURED CLAIMS

3.1 Maintenance of payments and cure of default under 11 U.S.C. § 1322(b)(5).
      Installment payments on the secured claims listed below will be maintained, and any arrearage through the month of
     confirmation will be paid in full as stated below. Both the installment payments and the amounts to cure the arrearage will
     be disbursed by the trustee.
    Amounts stated on a proof of claim filed in accordance with the Bankruptcy Rules control over any contrary amounts listed
    below as to the current installment payment and arrearage. After confirmation of the plan, the trustee shall adjust the
    installment payments below in accordance with any such proof of claim and any Notice of Mortgage Payment Change filed
    under Rule 3002.1. The trustee shall adjust the plan payment in Part 2 in accordance with any adjustment to an installment
    payment and shall file a notice of the adjustment and deliver a copy to the debtor, the debtor’s attorney, the creditor, and the
    U.S. Trustee, but if an adjustment is less than $25 per month, the trustee shall have the discretion to adjust only the
    installment payment without adjusting the payments under Part 2. The trustee is further authorized to pay any postpetition
    fee, expense, or charge, notice of which is filed under Bankruptcy Rule 3002.1 and as to which no objection is raised, at the
    same disbursement level as the arrearage.
     Confirmation of this Plan imposes on any claimholder listed below the obligation to :
          · Apply arrearage payments received from the trustee only to such arrearages.
          · Treat the obligation as current at confirmation such that future payments, if made pursuant to the plan, shall
    not be subject to late fees, penalties, or other charges.
    If relief from the automatic stay is ordered as to any collateral listed below, all payments under this section to creditors
    secured by that collateral will cease.
                                                   Current monthly                            Last month
                                                                           Amount of                              Monthly payment
                                                   payment                                   in prepetition
Creditor/Collateral                                                        arrearage                             on arrearage, if any
                                                   (including escrow)                          arrearage
          CARRINGTON MORTGAGE SERVICES $797.48
          LLC
          595 CUMMINGS LANE                                               Prepetition:
          COTTONTOWN, TN 37048                                            $1,619.96                 07/18                 pro rata

          595 CUMMINGS LANE                                               Gap payments:
                                                                          $2,392.44                                       pro rata



                                                             Chapter 13 Plan                                      Page 2 of 9




            Case 3:18-bk-05071          Doc 29      Filed 10/22/18 Entered 10/22/18 16:54:20                  Desc Main
                                                    Document Page 2 of 9
Debtors       LEONARD                                                          Case number         18-05071-RM3-13


                                                                          Months in gap:
                                                                          AUG 2018-OCT 2018



3.2 Valuation of security and claim modification.
    For each claim listed below, the Court determines the value of the creditor’s interest in any property securing the
    claim in accordance with the amount stated in the column headed Value securing claim. If this amount exceeds any
    allowed claim amount, the claim will be paid in full with interest at the rate stated below. If the amount is less than
    the allowed claim amount, the claim will be paid the full value securing the claim, with interest at the rate stated
    below.
    The portion of any allowed claim that exceeds the value securing the claim will be treated as an unsecured claim
    under § 5.1. If the value securing a creditor’s claim is listed below as zero or no value, the creditor’s allowed claim
    will be treated entirely as an unsecured claim under § 5.1. The avoidance of any lien because it is not secured by any
    value must be addressed in Part 9. The amount of a creditor’s total claim stated on a proof of claim filed in
    accordance with the Bankruptcy Rules controls over any contrary amount stated below.
    The holder of any claim listed below as secured by any value will retain the lien until the earlier of :
    (a)     payment of the underlying debt determined under nonbankruptcy law, or
    (b)     discharge under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
    If relief from the automatic stay is ordered as to any collateral listed below, all payments under this section to creditors
    secured by that collateral will cease.
                                                                                                    Value of
                                                               Amount                              collateral
                                                                  of                Value securing less than Interest           Monthly
Creditor/Collateral                                             Claim                   claim                 Rate              Payment
                                                                                                    Claim?
AMERICAN HONDA FINANCE CORPORATION                             $6,343.13              $6,500.00         No      5.25%             $120.50
 16 HONDA 4 WHEELER

FORD MOTOR CREDIT COMPANY LLC                                 $12,389.05              $12,700.00        No      5.25%             $240.00
 15 FORD ESCAPE



3.3 Secured claims excluded from 11 U.S.C. § 506.
    The claims listed below were either:
    (1)incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
    acquired for the personal use of the debtor(s), or
    (2)incurred within 1 year before the petition date and secured by a purchase money security interest in any other thing of
    value.
    These claims will be paid in full through the trustee as stated below. The claim amount stated on a proof of claim filed
    in accordance with the Bankruptcy Rules controls over any contrary amount listed below .
    The holder of any claim listed below as secured by any value will retain the lien until the earlier of :
    (a)     payment of the underlying debt determined under nonbankruptcy law, or
    (b)     discharge under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
                                                             Chapter 13 Plan                                      Page 3 of 9




            Case 3:18-bk-05071          Doc 29      Filed 10/22/18 Entered 10/22/18 16:54:20                   Desc Main
                                                    Document Page 3 of 9
Debtors       LEONARD                                                              Case number          18-05071-RM3-13



    If relief from the automatic stay is ordered as to any collateral listed below, all payments under this section to creditors
    secured by that collateral will cease.

Creditor/Collateral                                                           Amount of claim          Interest rate      Monthly payment
 AMERICAN CREDIT ACCEPTANCE                                                             $21,856.99         5.25%           $415.00
 17 DODGE JOURNEY / 910 AUTOMOBILE LOAN


3.4 Lien avoidance.
                                                      --------------- NONE ---------------

3.5 Surrender of collateral.
                                                      --------------- NONE ---------------

PART 4: TREATMENT OF PRIORITY CLAIMS (INCLUDING ATTORNEY'S FEES AND DOMESTIC SUPPORT
OBLIGATIONS)

4.1 Attorney’s fees.
     The balance of fees currently owed to CHRISTOPHER M KERNEY is $4,250.00. The total fee awarded to the attorney is $4,250.00
     pursuant to Administrative Order 18-1 .

     Except for any fees retained as a "Success Incentive" , the balance of fees awarded by this order and any additional fees that may be
     awarded shall be paid through the trustee as follows: Available funds.



4.2 Domestic support obligations.

(a) Pre- and postpetition domestic support obligations to be paid in full.
                                                           ----------NONE----------

(b) Domestic support obligations assigned or owed to a governmental unit and paid less than full amount .
                                                           ----------NONE----------

4.3 Other priority claims.
                                                           ----------NONE----------

PART 5:     TREATMENT OF NONPRIORITY UNSECURED CLAIMS AND POSTPETITION CLAIMS

5.1 Nonpriority unsecured claims not separately classified.

   Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata . A minimum sum of -0- and a
   minimum dividend of 20.000% shall be paid to these claims. Any funds remaining after disbursements have been made to all
   other creditors provided for in this plan shall also be distributed to these claims .



5.2 Interest on allowed nonpriority unsecured claims not separately classified.

                                                                 Chapter 13 Plan                                           Page 4 of 9




            Case 3:18-bk-05071             Doc 29       Filed 10/22/18 Entered 10/22/18 16:54:20                       Desc Main
                                                        Document Page 4 of 9
Debtors      LEONARD                                                          Case number       18-05071-RM3-13


N/A

5.3 Maintenance of payments and cure of default on nonpriority unsecured claims.
                                                 --------------- NONE ---------------

5.4 Separately classified nonpriority unsecured claims.
                                                  --------------- NONE ---------------

5.5 Postpetition claims allowed under 11 U.S.C. § 1305.

   Claims allowed under 11 U.S.C. § 1305 will be paid in full through the trustee.
                                                  ----------NONE----------

PART 6:     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1 The executory contracts and unexpired leases listed below are assumed and treated as specified. All other executory
    contracts and unexpired leases are rejected.
                                              --------------- NONE ---------------

PART 7:     ORDER OF DISTRIBUTION OF AVAILABLE FUNDS BY TRUSTEE

7.1 The trustee will make monthly disbursements of available funds in the order indicated by the “disbursement
    levels” in the attached Exhibit.
   If available funds in any month are not sufficient to disburse all fixed monthly payments due under the plan for any
   disbursement level, the trustee shall allocate available funds to the claims in that disbursement level pro rata. If available
   funds in any month are not sufficient to disburse any current installment payment due under § 3 .1, the trustee shall
   withhold the partial payment amount and treat the amount as available funds in the following month .

PART 8:     VESTING OF PROPERTY OF THE ESTATE

8.1 Property of the estate will vest in the debtors upon discharge or closing of the case, whichever occurs earlier, unless an
    alternative vesting date is specified below:


PART 9:         NONSTANDARD PLAN PROVISIONS

                                                      ----------NONE------------




Approved:




                                                            Chapter 13 Plan                                       Page 5 of 9




            Case 3:18-bk-05071          Doc 29      Filed 10/22/18 Entered 10/22/18 16:54:20                  Desc Main
                                                    Document Page 5 of 9
Debtors      LEONARD                                                     Case number     18-05071-RM3-13


/s/CHRISTOPHER M KERNEY
CHRISTOPHER M KERNEY                                                              RANDAL S MASHBURN
ATTY FOR THE DEBTOR                                                               Bankruptcy Judge
519 SOUTH WATER AVE
GALLATIN, TN 37066
615-206-9900
chris@kerneylaw.com



341 Date: September 11, 2018 11:00 am
Case no: 18-05071-RM3-13
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                                                       Chapter 13 Plan                                Page 6 of 9




           Case 3:18-bk-05071           Doc 29   Filed 10/22/18 Entered 10/22/18 16:54:20          Desc Main
                                                 Document Page 6 of 9
Debtors        LEONARD                                                       Case number       18-05071-RM3-13


                                                             EXHIBIT
                        SCHEDULED AND ALLOWED CLAIMS AND ORDER OF DISTRIBUTION
   The list below identifies the claims treated under this confirmed plan as of the submission of this order to the Court . This
   list is subject to modification based on the subsequent allowance or disallowance of claims .
   The “disbursement level” indicates the order of distribution on a monthly basis. See Part 7 of the attached Order.
   * An asterisk next to a claim indicates that a proof of claim has been filed for the listed creditor. No disbursements will be
   made on any claim pursuant to the plan unless a timely proof of claim is filed.
   ! An exclamation mark next to a claim indicates the trustee has placed a “reserve” on the claim and will withhold
   disbursements pending a further determination. For information about a “reserve” contact the trustee’s office.
                                                                                                                      Order of
               Name of Creditor                                Type of Claim                                         Distribution

               US BANKRUPTCY COURT                             FILING FEE                                                 1

               US BANKRUPTCY COURT                             NOTICE FEE                                                 2

   *           AMERICAN CREDIT ACCEPTANCE                      910 AUTOMOBILE LOAN                                        3
               17 DODGE JOURNEY
   *           AMERICAN HONDA FINANCE CORPORATION
                                                SECURED CREDITOR                                                          3
               16 HONDA 4 WHEELER
   *      !    CARRINGTON MORTGAGE SERVICES LLC MTG-ON GOING MTG PYMT                                                     3
               595 CUMMINGS LANE
   *           FORD MOTOR CREDIT COMPANY LLC                   AUTOMOBILE LOAN                                            3
               15 FORD ESCAPE
               CHRISTOPHER M KERNEY                            ATTORNEY FEE                                               4

   *      !    CARRINGTON MORTGAGE SERVICES LLC MTG-PRE-PETITION ARREARS                                                  5
               ARREARS/595 CUMMINGS LANE
   *      !    CARRINGTON MORTGAGE SERVICES LLC MTG-GAP PYMTS (POST PET/PRE CONF)                                         5
               AUGUST 2018-OCTOBER 2018
          !    CHRISTOPHER M KERNEY                            ATTY SUCCESS INCENTIVE/PRIOR ATTY                          6

               ADVANCE FINANCIAL                               UNSECURED CREDITOR                                         7

   *           AMERICAN INFOSOURCE AS AGENT                    UNSECURED CREDITOR                                         7
               T MOBILE
   *           AMERICAN INFOSOURCE LP                          UNSECURED CREDITOR                                         7

   *           BANK OF AMERICA NA                              UNSECURED CREDITOR                                         7
               CC

                                                           Chapter 13 Plan                                      Page 7 of 9




              Case 3:18-bk-05071       Doc 29      Filed 10/22/18 Entered 10/22/18 16:54:20                 Desc Main
                                                   Document Page 7 of 9
Debtors    LEONARD                                              Case number   18-05071-RM3-13


   *       BECKET AND LEE LLP                     UNSECURED CREDITOR                                 7
           CC KOHLS CAPITAL ONE
   *       BECKET AND LEE LLP                     UNSECURED CREDITOR                                 7
           CC KOHLS CAPITAL ONE
           BELK GECRB                             UNSECURED CREDITOR                                 7

           CAPITAL ONE                            UNSECURED CREDITOR                                 7

           CAPITAL ONE                            UNSECURED CREDITOR                                 7

           CASH EXPRESS                           UNSECURED CREDITOR                                 7

           CASH EXPRESS                           UNSECURED CREDITOR                                 7

   *       CERASTES LLC                           UNSECURED CREDITOR                                 7
           CC ALLIED INTERSTATE FIFTH THIRD
           BANK OPHRYS
           ELECTRONIC EXPRESS SYNCHRONY BANKUNSECURED CREDITOR                                       7

   *       HARPETH FINANCIAL SERVICES             UNSECURED CREDITOR                                 7
           ADVANCE FINANCIAL
   *       HARPETH FINANCIAL SERVICES LLC         UNSECURED CREDITOR                                 7
           ADVANCE FINANCIAL
   *       NPRTO SOUTH EAST LLC                   UNSECURED CREDITOR                                 7

   *       PORTFOLIO RECOVERY ASSOCIATES LLC UNSECURED CREDITOR                                      7
           CC THE BUCKLE COMENITY BANK
   *       STATE FARM MUTUAL AUTO INS CO          UNSECURED CREDITOR                                 7
           JUDGMENT 09GC10328
           SUMNER RADIOLOGY                       UNSECURED CREDITOR                                 7

           VIP MIDSOUTH LLC                       UNSECURED CREDITOR                                 7

           WALMART SYNCHRONY BANK                 UNSECURED CREDITOR                                 7

           WALMART SYNCHRONY BANK                 UNSECURED CREDITOR                                 7

           WAMU CHASE                             UNSECURED CREDITOR                                 7

   *       WORLD FINANCE CO                       UNSECURED CREDITOR                                 7

                                              Chapter 13 Plan                              Page 8 of 9




          Case 3:18-bk-05071   Doc 29   Filed 10/22/18 Entered 10/22/18 16:54:20        Desc Main
                                        Document Page 8 of 9
Debtors    LEONARD                                              Case number   18-05071-RM3-13



   *       WORLD FINANCE CO                       UNSECURED CREDITOR                                 7

           1305 CLAIM                             UNSECURED - 1305                                   8




                                              Chapter 13 Plan                              Page 9 of 9




          Case 3:18-bk-05071   Doc 29   Filed 10/22/18 Entered 10/22/18 16:54:20        Desc Main
                                        Document Page 9 of 9
